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                 EXHIBIT 1
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                 EXHIBIT 2
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                                                                                    [Translation]



This is the true identity of the boss that we have trusted and followed.
Ijlij!llij
13 minutes ago

Woori Bank allegedly operates an online comments monitoring team and a Blind monitoring
team – isn’t this worse than the online comments monitoring team at the National Intelligence
Service? If they have enough personnel to operate such teams, such personnel should be
assigned to a branch that is currently extremely busy. I don’t know when this post will be
removed, so please take a quick look.

This is the true identity of the boss that we have trusted and followed.

While emphasizing the importance of leading an ethical life to 15,000 employees, behind our
back, he secretly had a drinking party while being shamefully physically affectionate with a
young woman. He did so while both employees and customers are going through such difficult
times.

In the long history of Woori Bank for more than 120 years, was there anyone who committed
such a shameful act?

He shouts, “it is a time of crisis, so everyone should be devoted to sales.” However, behind our
back, he wears an unbuttoned shirt while hugging a woman who looks to be younger than his
daughter.

Indeed, where on earth is this place, and who is this woman in his arms…

Countless employees who are not even aware of his true identity are sweating at sales sites,
working overtime at the head office, and sacrificing themselves for the bank.

However, thousands of employees’ blood and sweat go to a waste for a pathetic man’s nightly
drinks with a hostess, (blood and sweats) flowing down the throats of such humans.

I can’t help but lament. I’m even more furious because I trusted him. It is an act that completely
ignores and betrays our long history as well as many seniors and juniors of the bank.

Sir!
Woori Bank is not your personal property, and employees are not just slaves running around and
bowing down when you ask them to do so.
Woori Bank is a magnificent and noble product of tens of thousands of employees. Keep that in
mind.

You got that position without any ability by riding on someone’s coattails. Shouldn’t you at least
work hard, and work in a right manner?

Take a closer look at what you have done in one year.
There are no achievements.
Oh! We got one – “no dress code”…

You may say that we have VG?
Every single one of the 15,000 employee knows that this is merely a copy/imitation of another
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                                                                                [Translation]

bank.

A man who is more suitable as a staff or a secretary got his current position by riding on the
coattails of his high school alumnus.

Woori Bank is now ranked 7th or 8th.

Should we just watch this man who gets drunk with a woman at this time of crisis?

This is such a lamentable reality that makes me pound the ground and vomit blood.
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   I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
   translating documents for over 2 years. I am competent to translate from Korean to
   English.
   I hereby certify that the attached is, to the best of my knowledge and belief, and
   within the given parameters, a true and accurate translation from Korean into English
   of the document with the file name “Exhibit 2 - English Translation of February
   16 Post.”


   I declare under penalty of perjury under the laws of the United States of America that
   the foregoing is true and correct. Executed on April 2, 2021 in Langley, British
   Columbia.




   _______________________
   Sunhee Chung

   2nd day of April, 2021




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                  EXHIBIT 3
                       Case 4:21-mc-80084-DMR Document 1-3 Filed 04/20/21 Page 12 of 18

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이건아닌것같습니다
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마지막질문
13분




사진 각도가 정면이면 측근인데.…
측근도 배신하는 리더가 과연 리던인지… .

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                  EXHIBIT 4
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                                                                                 [Translation]

Question 1
User: “I Disagree”
22 minutes ago

Is this the time when you were drinking in August, when COVID-19 was prevalent?



Question 2
User: “I Disagree”
21 minutes ago

Who is that woman?



Question 3
User: “I Disagree”
19 minutes ago

Did you pay for this alcohol with your own money or bank expenses?



This is not right
User: “Last Question”
13 minutes ago

Based on the angle of the Photo, it was taken from the front – which means that the Photo must
have been taken by an aide… can a leader who gets betrayed even by his aide really be
considered a leader?
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   _______________________
   Sunhee Chung

   2nd day of April, 2021




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